AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means



                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of North Carolina

                  In the Matter of the Search of
              (Briefly describe the property to be searched
               or identify the person by name and address)
                                                                                )
        139 BESHEARS-OWINGS LANE, NORTH                                         )      Case No.    3:22-mj-00125
          WILKESBORO, NORTH CAROLINA                                            )
                                                                                )
                                                                                )
                                                                                )



                WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Western            District of                North Carolina
(identify the person or describe the property to be searched and give its location):

See Attachment A



        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
See Attachment B


        YOU ARE COMMANDED to execute this warrant on or before                    3/28/2022           (not to exceed 14 days)
      ☒ in the daytime 6:00 a.m. to 10:00 p.m. ☐ at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to           W. Carleton Metcalf, US Magistrate Judge          .
                                                                                                     (United States Magistrate Judge)

     ☐ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ☐ for         days (not to exceed 30) ☐ until, the facts justifying, the later specific date of enter date                           .
                                                                                                    Signed: March 16, 2022



Date and time issued: 3/16/2022 12:02 PM
                                                                                                             Judge’s signature
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City and state:             Asheville, North Carolina                                    W. Carleton Metcalf, U.S. Magistrate Judge, WDNC
                                                                                                            Printed name and title
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                                                                             Return
Case No.: 3:22-mj-00125      Date and time warrant executed:                          Copy of warrant and inventory left with:
                             enter date
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:            enter date
                                                                                            Executing officer’s signature


                                                                                               Printed name and title




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